To: Sane FAM ESA FASMBMIBN Doc #64-4 Filed: 01/31/25 Page 1 of 3- Page ID #1134

From:

Sent: Tue 9/24/2024 7:08:38 PM

Subject: | Fw: Jim Daws Trucking Transition.
Received: Tue 9/24/2024 7:08:39 PM

From: Bill Molthan <billm@daws-trucking.com>

Sent: Tuesday, September 24, 2024 5:41 AM

To: Rick Fernandez <RickF@rdtintermodal.com>; Jaisa Douty <Jaisa@daws-trucking.com>; Jeff Keeler <Jeff@daws-trucking.com>;
Kathy Temme <Kathy@daws-trucking.com>; Tony Glenn <tony@daws-trucking.com>; Gloria Fernandez
<GloriaF@rdtintermodal.com>; Joann Roth <Joann@daws-trucking.com>

Cc: Jim Daws <jim@daws-trucking.com>; Ricky Fernandez <r.d.fernandez2@gmail.com>; Dennis Broadwell <dennis@daws-
trucking.com>; Ranae Muencrath <ranae@daws-trucking.com>; Mattie Hans <Mattie@daws-trucking.com>

Subject: Re: Jim Daws Trucking Transition.

after reading your email from last nite, just curious according to this message what is going to be the proper
Name of this company now? over the past year or so had not seen either of you here at milford office much so
was not that familiar with your company

From: Rick Fernandez <RickF@rdtintermodal.com>

Sent: Monday, September 23, 2024 7:33 PM

To: Jaisa Douty <Jaisa@daws-trucking.com>; Jeff Keeler <Jeff@daws-trucking.com>; Kathy Temme <Kathy@daws-trucking.com>;
Tony Glenn <tony@daws-trucking.com>; Gloria Fernandez <GloriaF@rdtintermodal.com>; Joann Roth <Joann@daws-trucking.com>
Cc: Jim Daws <jim@daws-trucking.com>; Ricky Fernandez <r.d.fernandez2@gmail.com>; Bill Molthan <billm@daws-trucking.com>;
Dennis Broadwell <dennis@daws-trucking.com>; Ranae Muencrath <ranae@daws-trucking.com>; Mattie Hans <Mattie@daws-
trucking.com>

Subject: RE: Jim Daws Trucking Transition.

Forgot to add Gloria and Jo

Sent via the Samsung Galaxy S21+ 5G, an AT&T 5G smartphone

n------- Original message --------

From: Rick Fernandez <RickF @rdtintermodal.com>

Date: 9/23/24 5:38 PM (GMT-06:00)

To: Jaisa Douty' <Jaisa@daws-trucking.com>, Jeff Keeler <Jeff@daws-trucking.com>, 'Kathy Temme' <Kathy@daws-
trucking.com>, 'Tony Glenn' <tony@daws-trucking.com>

Ce: Jim Daws <jim@daws-trucking.com>, Ricky Fernandez <r.d.fernandez2@gmail.com>, Bill Molthan <billm@daws-
trucking.com>, 'Dennis Broadwell' <dennis@daws-trucking.com>, Ranae Muencrath <ranae@daws-trucking.com>,
mattie@daws-trucking.com

Subject: Jim Daws Trucking Transition.

Hello All,

Over the next couple of weeks I will be asking all of you for whatever Assistance you can provide so that we can finalize the
name change and accounts transferred to the proper Name.

Please provide me access to the following

4:24-cv-03177-SMB-MDN Doc#64-4_ Filed: 01/31/25 Page 2 of3- Page ID#1135
1)ELD PORTAL

2)DOT PORTAL
3)Tollway pass info

4)Prepass info.

Need a list of all AP vendors and A/R customer contacts information so that we can route all payments Jim Daws
Trucking monies to UBT

I Need a Contact at TLC for payroll so I can change the account.

If you are using DAT or other Load boards we need to change the account.

I need to Change the EFS and Com-Data accounts

And will need update all the Fuel accounts and Tire accounts. with our Information.

There’s probably a bunch more I’m missing but let’s start with these

will do as many as I can.

I have added my Wife Gloria, My Son Rick, Thelma, Jackie for assistance

Thanks you all in advance appreciate your help.

Rick Fernandez

4:24-cv-03177-SMB-MDN

Doc # 64-4

Filed: 01/31/25

Page 3 of 3- Page ID #1136

